    Case 23-01335-JKS Doc 92 Filed 10/11/24 Entered 10/11/24 10:15:50                          Desc Main
UNITED STATES BANKRUPTCY COURT
                             Document Page 1 of 2
DISTRICT OF NEW JERSEY
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                                                                          Order Filed on October 11, 2024
                                                                          by Clerk
                                                                          U.S. Bankruptcy Court
                                                                          District of New Jersey

In Re:
 NATIONAL REALITY INVESTMENT                              Case No.:                   22-14539
                                                                                ____________________
 ADVISORS, LLC, et al.,

                             Debtors.                     Adv. No.:             ____________________
                                                                                      23-01335
AIRN LIQUIDATION TRUST CO., LLC,
             Plaintiff,                                   &KDSWHU:             __________________
                                                                                        11

vs.
MEDIA EFFECTIVE LLC ET AL.,                               Judge:               ___________________
                                                                                  John K. Sherwood
             Defendants.




                       ),1$/-8'*0(17)25680&(57$,1PLUS INTEREST

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             DATED: October 11, 2024
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          7KLV PDWWHU KDYLQJ FRPH EHIRUH WKH &RXUW E\ ZD\ RI 3ODLQWLII V DSSOLFDWLRQ IRU D
SUHOLPLQDU\LQMXQFWLRQDQGWKH&RXUWKDYLQJFRQVROLGDWHGWKHKHDULQJZLWKDWULDORQWKHPHULWV
SXUVXDQW WR )HG 5 %DQNU 3  and for WKH UHDVRQV VHW IRUWK LQ WKH &RXUW V GHFLVLRQ RI
2FWREHU WKH'HFLVLRQ ; it is


          ORDERED that final judgment be and hereby is entered against the Defendants,
Media Effective, LLC and Javiar Torres, jointly and severally, and in favor of the Plaintiff,
AIRN Liquidation Trust Co., LLC, in the amount of $4,605,112.16 plus pre- and post-
judgment interest as set forth in the Decision; and it is further:


          ORDERED that the successful party shall serve this Judgment on all parties to this
action.




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